Case 5:21-cv-00460-PGB:-PRL Document 1. Filed 09/10/21 Page 1 of 28 PagelD 1

Prase I (Rev. 12/16) Complaint for a Cevil Case
\

UNITED STATES DISTRICT COURT” *

rites

sep 10 PH 399

 

forthe moda lt, Cor ae pe

Districtof f£/oridea

 

OCala Division

 

e altuna S&S, ala
Plas)
(Wate the full name of cach plantiff wha & fling this complain
Of he names Of all the plaintiffs connat fit ih the space above,
plese rhe fee ached Jn the space and atach an aidijond!
Page wit the fall ist of vames.}
“Va

THo on /// Ay
offraray and gdrivare Capacity

YA veth Parodi’ + ia bs offreval
Gad Private Cafacitt

4

 

Defendants}
(Woe the full name af cach defendant whois beng sued if the
names of all the defendauts consot fi in the space above, plese
write Fee attached 7 the space and mdiach on addijonal pege
with the full list of sane}

Set pee oem ee See Nemeth Nee Nee Saget ee Sp nee ge

 

 

| Case No.
r le be filled in by the Clerk ¢ Office)

Sil Ce Yb0-PC-B- PRL

 

 

 

 

 

 

 

Jury Trial: sctect ane/ Yes No

 

 

 

 

COMPLAINT FOR A CIVIL CASE

 

 

L The Parties to This Complaint

 

A. The Plaintiff(s)

Provide the information below for each plaintiff named in the complaint. Attach additional pages if

needed.

Si t

 

 

B. The Defendant(s)

Provide the information below for each defendant named in the complaint, whether the defendant is an
individual, a government agency, an organization, or a corporation. For an individual defendant,
include the person's job or title (7#aowa/ Attach additional pages if needed.

 

Page of 5
 

—

9/242020 Case 5:21-cv-00460-PGB-PRL Do@ayra@ DhebkoltlPgniat/dompiatedt Page 2 of 28 PagelD 2
IVIOVITI Un CSslale Odl€s, LLU

You paid $113.72 USD

to Movin' On Estate Sales, LLC
Details

 

Get PayPal Notifications in Messenger

Send|to Messenger

Paid with
Visa x-72711 $113.72 usD

This transaction \will appear on your statement as PAYPAL *MOVINONLLG.

Shipped to

Larry D Franz

10865 S.E! 182nd Ave Rd
Ocklawaha, FL 32179
‘United States

|

 

| Purchase Hates |
Receipt nu mber: 05402" 6Y58229223

We'll send confi imation to:
Ldf33415@aol.com

Merchant details
Movin' On Estate Sales, LLC

Policies Terms Privacy © 1999-2020

|
https:/Maww.paypal.comivebapps/n ermes?fow=1 -P&ulRetum=true&token=1DF96357CH297433L &useraction=commit&mfld=1800910488781_Scdecc... 1/1
ex SPRAY 00460 PEPER opps neAL plegpenoes Page 3 of 28 PagelD 3

I) “Thamas “Thameson fll
Cir cess? Loom Taelge of the Pith

Ja vctal Crrévtt hey Private ane
OPPrval Laracit¥.

DW Reveth Facadi

syiStant State ArrocneY
th Todetat Zerealt af manon Count

3) BReendaA LE Nazree

MATE Artorney
Canaty Coari of the FGA

Lrreots Yer marten Count’ Ffloride

WY) freaare 0. Marcell

Cleat THE Couwt at Olala,
Marion Cont , PlaetDA.

Lasntom Claim Be Mec A292xEO

Reale 1% Arcler OF Rermeal onder tithe
1333 124N2) ana (2480625

FAucalal é. KX bien (Agent)

Berth Lda serra
Case 5:21-cv-00460-PGB-PRL.Document 1 Filed 09/10/21 Page 4 of 28 PagelD 4

ProSe f (Rev. 12/16) Complaint for a Civil Case

 

 

 

 

 

 

IL Basis for Jurisdiction

Federal courts are courts of limited jurisdiction (limited power). Generally, only two types of cases can be
heard in federal court: cases involving a federal question and cases involving diversity of citizenship of the
parties. Under 28 U.S.C. §1331, a case arising under the United States Constitution or federal laws or treaties
is a federal question case. Under 28 U.S.C. §1332, a case in which a citizen of one State sues a citizen of
another State or nation and the amount at stake is more than $75,000 is a diversity of citizenship case. Ina
diversity of citizenship case, no defendant may be a citizen of the same State as any plaintiff.

What is the basis for federal court jurisdiction? (atect al sar apply)
[X [ederal question |__| Diversity of citizenship
ZY -wsetss¥¢/ / Aes /¥R
(BIA)
12.B)C Page of 5

 
 

9/25/2020 Case 5:21-cv-00460

W TrueFit Posture

-PGB-PRL DOoCUMEeTiiteFt Posi@eldoPedi/21 Page 5 of 28 PagelD 5

Congrats - Order Complete!

You will receive an order confirmation email from us with the subject "Thank you for your. purchase’.

. P

 

If ee ae ‘not seo itin our inbox, ‘plegse check your spam folder. =

L. = a

ol UX

wv Your Product Receipt:

 

 

Prodoct| : Price
Product Price Qty. Aiken
4 TrueFit Posture Corrector - 50% OFF $29.951 $29.95
"4 DrSock Soother ° "6 °$45.001 - $15.00 — --
Subtotal | $44.95
Shipping | vy yf j $3.95
Taxes 6 oon: i Bk Resi $3.43
Grand Total. re . $5233

@ Feel free to email us with any questions:

 

o hit

. Email: support@mytruefi itposture.com

“tt you have any questions about your order, please send us an email and wa
will gat back to you within'24 hours,

aa

Copyright - TrueFit - All Rights Reserved

a Glee

 

https/tuefitposture.com/producttttthankyou.php
Case 5:21-cv-00460-PGB-PRL Document 1 Filed 09/10/21 Page 6 of 28 PagelD 6

ProSe 1 (Rev. 12/16) Complaint for a Civil Case
Fill out the paragraphs in this section that apply to this case.

 

A. If the Basis for Jurisdiction Is a Federal Question
List the specific federal statutes, federal treaties, and/or provisions of the United States Constitution that
are at issue in this case.
Met s/33, | BE 4-5 140° warece *¢F Agmoval

ZR Ute 33 Grres PRT Curt ongnel Junedtth tn

 

 

 

 

vert maples gersalvths'on
Pee a athe Rule 12 (aC 2) fLomty Coutts do Nat fut Svbyrect | ae

Ave 12.a)CG) Comty cours hat Neb shored qeban Hn whith OOS

Can be Gcanrerf
B. If the Basis for Jurisdiction Is Diversity of Citizenship
1. The Plaintiff(s)
a If the plaintiff is an individual

The plaintiff, gazes | | is a citizen of the

State of daames L.

 

 

b. If the plaintiff is a corporation

The plaintiff, s2ane/ Lis incorporated
under the laws of the State of “raves | |

 

 

 

 

d pase peeioet ee ath ecee in he Peak aan
(Uf more than one plaintiff is naned in the complaint, attach an additional page providing the
sane information for cach additional pant.)

 

2. The Defendant(s}

a If the defendant is an individual

 

 

 

 

 

The defendant, (rane) |Themat Thompson //! | Lis a citizen of
te Sate a apne Flarrta L Oris acitizen of
tomign nation) Local &  Flerida

 

 

 

b. If the defendant is a corporation
The defendant, sxoe)_|FHtomas THomPS IN //1 _| is incorporated under

 

 

 

 

 

 

 

 

 

 

the laws of the State of anes _| Florsclg and has its
principal place of business in the State of anes |_ */or> a .
Oris incorporated under the laws of “m/ez aaioa | ‘
and has its principal place of business in dames | acct Court

 

 

(Uf nore than one defendant is named in the complaint, atach an additional page providing the
sane information for cach additional defendant. }

3. The Amount in Controversy
The amount in controversy—the amount the plaintiff claims the defendant owes or the amount at

stake—is more than $75,000, not counting interest and costs of court, because ferpdan/

Page of 5
Case 5:21-cv-00460-PGB-PRL Document 1 Filed 09/10/21 Page 7 of 28 PagelD 7

ProSe 1 (Rev. 12/16) Complaint for a Civil Case
On Hondregt [Thomas PHomPsen II 75-00, 08% Seventy five Thusond aovar
and seventy five | Brenda Dozer + ¥Se.000,W Fitty Thovsend Cetars VS,

On VS Baan Yavelh Pareod:’ “S50, 0W ow LVF 77 Thovsand aefgs US
5,000.

 

 

TL Statement of Claim

Write short and plain statement of the claim. Donot make legal arguments. State as briefly as possible the
facts showing that each plaintiff is entitled to the damages or other relief sought. State how each defendant was
involved and what each defendant did that caused the plaintiff harm or violated the plaintiff's rights, including
the dates and places of that involvement or conduct. If more than one claim is asserted, number each claim and
write a short and plain statement of each claim in a separate paragraph. Attach additional pages if needed.

Set Enebt7 «

 

 

 

IV. Relief

State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal
arguments. Include any basis for claiming that the wrongs alleged are continuing at the present time. Include

the amounts of any: actual. damages claimed for the acts alleged and the basis for these amounts. Include any
punitive or exemplary damages claimed, the amounts, and the reasoas you claim you are entitled to actual or \
punitive money damages.

Sec &x(B/t ©

 

 

 

Vv. Certification and Closing

Under Federal Rute of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
unnecessary delay, or needlessly increase the cost of litigation, (2) is supported by existing law or by a
nonfrivolous argument for extending, modifying, or reversing existing law; G) the factual contentions have
evidentiary support or, if specificatly so identified, will likely have evidentiary support after a reasonable
opportunity for further investigation or discovery: and (4) the complaint otherwise complies with the
requirements of Rule 1 I.

A. For Parties Without an Attorney

{ agree to provide the Clerk § Office with any changes to my address where case—related papers may be
served. [ understand that my failure to keep a current address on file with the Clerk § Office may result

in the dismissal of my case. A g Z 7

PRA POS pay pt et Oe
oppor” FOU rage t 5
(YON) 7o8
Case 5:21-cv-00460-PGB-PRL Document 1 Filed 09/10/21 Page 8 of 28 PagelD 8

ProSe § (Rev. 12/16} Complaint for a Civil Case
Date of signing: | Seevemex 5,202!

 

Signature of Plaintiff __|
Printed Name of Plaintiff

 

 

 

B. For Attorneys

 

 

Date of signing: }

 

 

 

Page of 5
Case 5:21-cv-00460-PGB-PRL Document 1 Filed 09/10/21 Page 9 of 28 PagelD 9

Truth Affidavit
In The Nature Of Supplemental
Rules For Administrative And Maritime Claims Rules C(6)

Grant of Exclusive Power Of Attorney to conduct all business, and legal affairs of
principal person

POWER OF ATTORNEY IN FACT

I, GERALD EDWIN SLASEMAN, GERALD E SLASEMAN, SLASEMAN GERALD E, or any
derivative thereof, SECURED PARTY/CORPERATE FICTION, 5512 Ferdinand Drive, .
ORLANDO FL 32808, Do hereby appoint Gerald E. Slaseman, a living soul, as Agent with
Power of Attorney in Fact, non-domestic, c/o 5512 Ferdinand drive Orlando Florida, to
take exclusive charge of, manage, and conduct all of my tax, business, and legal affairs,
and for such purpose to act for me in my name and place, without limitation on the
powers necessary to carry out this exclusive purpose of attorney in fact as authorized.

1) To take possession of, hold, and manage my real estate and all other property;

2) To receive money or property paid or delivered to me from any source;

3) To deposit funds in, make withdrawals from, or sign checks or drafts against any
account standing in my name individually or jointly in any Bank or other depository, to
cash coupons, bonds or certificates of deposits, to endorse checks, notes or other
documents in my name, to have access to, and place items in or remove them from any
safety deposit box standing in my name individually or jointly, and otherwise to conduct
bank transactions of business for me in my name;

4) To pay any just debts and expenses incurred by my Attorney in Fact Gerald E.
Slaseman, in exercising this exclusive Power of Attorney;

5) To retain any investments, invest, and to invest in stocks, bonds, or other securities; or
in real estate or other property;

6) To give general and special proxies or exercise rights of conversion or rights with
respect to shares of securities, to deposit shares or securities with, or transfer them to
protective committees or similar hodies,to jom in any reorganization and pay
assessments or subscriptions called for in connection with shares or securities;

7) To sell, exchange, lease, give opinions, and make contracts concerning real estate or
other property for such consideration and on such considerations and on such terms at
my attorney in fact Gerald e. Slaseman, may consider prudent.

8) To improve or develop real estate, to construct, alter, or repair building structures
and appurtenances or real estate, to settle boundary lines, easements, and other rights
with respect to real estate, to plant, cultivate, harvest, and sell or otherwise dispose of
crops and timber and do all things necessary or appropriate for good living and
husbandry.

9) To provide for the use, maintenance, repair, security, or storage of my tangible
property.

10) To purchase and maintain such policies of insurance against liability, fire, casualty, or
other risk as my attorney in fact Gerald e. Slaseman may consider prudent.

Page 1 of 3 Power Of Attorney in Fact from GERALD EDWIN SLASEMAN for Gerald edwin
Slaseman, agent with the copy-claim by the GERALD EDWIN SLASEMAN
Case 5:21-cv-00460-PGB-PRL Document1 Filed 09/10/21 Page 10 of 28 PagelD 10

The Agent/Living soul, Gerald Edwin Slaseman, is hereby authorized by Law to act for and in
control of the SECURED PARTY/CORPERATE FICTION, GERALD E. SLASEMAN, or any other
derivative thereof.

In addition, through this exclusive Power of Attorney, to contract for all business and legal

affairs of the principal person SLASEMAN GERALD EDWIN, SECURED PARTY/CORPERATE
FICTION.

The term “exclusive” shall be construed to mean that while these powers of attorney are in
force, only my attorney in fact may obligate me in these matters, and I forfeit the capacity to
obligate myself with regard to the same. This grant of Exclusive Power is irrevocable during
the Lifetime of the Agent/Living Soul, Gerald Edwin Slaseman.

Executed and Sealed by the Voluntary act of my own hand this day of. 2021, I
am.

This instrument was prepared by Gerald Edwin Slaseman.

Acceptance:
GERALD EDWIN SLASEMAN, GRANTOR
SECURED PARTY

Executed without the UNITED STATES, I declare under penalty of perjury under the Laws of

the United States of America that the foregoing is true and correct. Without Prejudice, UCC 1-
308

I, the above named exclusive attorney in fact,do hereby accept fiduciary interest of the
herein-named SECURED PARTY and will execute the herein - granted Power of Attorney with
due diligence.

Gerald Edwin Slaseman, Agent,
Attorney in Fact,

Witnesses:

Page 2 of 3 Power Of Attorney from GERALD EDWIN SLASEMAN for Gerald edwin Slaseman,
Agent with the copy-claim by Gerald Edwin Slaseman.
Case 5:21-cv-00460-PGB-PRL Document1 Filed 09/10/21 Page 11 of 28 PagelD 11

NOTICE:

Using a notary on this document does not constitute any adhesion, nor does it alter my status
in any manner. The purpose for notary is verification and identification only and not for
entrance into any foreign jurisdiction, a benefit for the Pagans and Heathens so they whom I
pray may become knowledgeable in the truth for the Law by our Holy Father in Heaven and

repent, so they will no longer be alienated from their true Gag ve

  

" eral. &
Orange County ] d< tie
Florida State ] as: . Ali &sghis

J

Subscribed and affirmed before me this

30 dayforthe Auyz.+ monthinthe year of our Lord and Savior, twenty twenty one
A.D

== Lv wet Gigh

Gree Singh
al oh Grain of arin
43 fc ra fori %
Address of Notary: ane ee Pies My Commision Expire 0372872023

  

Notary expires:

Page 3 of 3 Power of Attorney from GERALD EDWIN SLASEMAN for Gerald Edwin Slaseman,
Agent with the copy-claim by Gerald edwin Slaseman.
Case 5:21-cv-00460-PGB-PRL Document1 Filed 09/10/21 Page 12 of 28 PagelD 12

IN THE COUNTY COURT OF THE FIFTH JUDICIAL CIRCUIT IN AND FOR MARION COUNTY
FLORIDA

GERALD E SLASEMAN
Non domestic

C/o 5512 Ferdinand drive
Orlando Florida
(407)868-2368

Plaintiff

-VS-

Thomas P. Thompson Ili magistrates
Individually or corperate capacity
110 nw 1st ave.

Ocala florida

Defendant

I Gerald E. Slaseman do declare that the following statement is true and correct as thy lord is
my witness

NOTICE OF CRIMINAL COMPLAINT

1)Act 183 Perjury under oath

Re:case number 20ct003750ax

Where as Thomas P. Thompson did issue a capias against Gerald Slaseman for a failure to
appear received by Gerald on June 3,2021 via. U.S.P.S
Case 5:21-cv-00460-PGB-PRL Document1 Filed 09/10/21 Page 13 of 28 PagelD 13

2)This capias was dated June 1,2021 for an alleged failure to appear dated April 16,2021

3) whereas, Gerald had a scheduled appearance dated April 15,2021 at the Marion County
Courthouse at 9:00 a.month

4) Gerald appeared April 15,2021 at the Marion County Courthouse,as required and was denied
access due to being sick with the flu. ( documented and verified by Clerk of Court) Gerald
submitted motion to dismiss via efile that morning.

5)June 27,2021 Gerald had a zoom appearance for withdrawal of capias. At the end of the
zoom call, Gerald was given a notice to appear in person at the Marion County Courthouse on
August 1,2021 at 1:00p.m. (Sunday)

6) Gerald has been denied basic civil rights and has suffered significantly due to Mr.Thomas
Thompson's direct abusive actions.

I Bosods fo Abana
hereby confirm this is the truth,the whole truth and nothing, but the truth as God is my
witness, dated this 1st day of August,2021. 3:27p.m.

  

1) f 4 (7 j "
All rights reserved Previa & rl aii
Slaseman Gerald Edwin Ant Ounkte Coto
Non-domestic All Rsghts "etait
C/O 5512 Ferdinand drive

Orlando, Florida

Page 2 of 2 notice of criminal complaint CASE 20ct003705ax Marion county florida
  

Syaeerp .21-cv-00460-PGB-PRL Document1 Filed 09/10/21 Page 14 of 28 Pagell

 

 

 

Bran
Acknowledgment by Individual
State of Florida
County of D- 2 uy &
The foregoing instrument was acknowledged before me this 30 day
Gust , 20 2 , by means of/[ physical presence or [] online notarization

—
Ge kita ShO 3 emAd (name of person acknowledging).

O Personally known to me
en

Notary signature _{_, Qik oh

Notary name (typed or printed) \ Grentz Sif G ( {

Title (e.g,, Notary Public) /VI7(-2Y UBC -

Place Seal Here

Grace Singh
Notary Public
State of Flora
My Commission Expires 09/28/2023

Gommission No. GG 362164

 

 

 

 

For Bank Purposes Only Description

of Attached Document
Type or Title of Document

MOTICE Of CRIMMKL COMPLAINT
ah Date Number of Pages

8/1] Qvz) Q

Signer(s) Other Than Named Above

 

Account Number (if applicable)

 

© 2020 Walls Fargo Bank, N.A. All rights reserved.
DSGS5350FL/595501 (Rev 05- 05/21)
Case 5:21-cv-00460-PGB-PRL Document1 Filed 09/10/21 Page 15 of 28 PagelD 15
GERALD E SLASEMAN | 20CTOO370SAX

IN THE COUNTY COURT OF THE FIFTH JUDICIAL CIRCUIT
IN AND FOR MARION COUNTY, FLORIDA

STATE OF FLORIDA
vs. Case Number: 20CT003705AX

k

GERALD E SLASEMAN
Defendant.

BENCH WARRANT
TO ALL AND SINGULAR THE SHERIFFS OF THE STATE OF FLORIDA:

This is to command you to take the Defendant, GERALD E SLASEMAN, into custody if
found in your county, and safely keep him so you have said Defendant before a judge of this
Court to answer the State of Florida for FTA CHANGE OF PLEA for

 

Count # Bond Amount(s) _
J DRIVING WHILE LICENSE SUSPENDED | 322.34.2B CASH OR $ 5,000.00
CANCELED REVOKED PRIOR OFFENSE SURETY

 

 

 

 

 

 

 

Total Bond Amount: | $ 5,000.00

 

and have then and there this writ with due retum of your action endorsed thereon.

_ THE STATE OF FLORIDA WILL EXTRADITE YES NO
The undersigned here! endorses bail as WITNESS my hand and official seal of said
indicated above and. authorize Court at Ocala, ion County, Florida, on
modification of this the Judge presiding lalifal .

at first appearance.
ullefzy Gregory C. Harrell
DONE AND ORDERED on Clerk of Court and Comptroller

All w a K Hag

THOMAS P THOMPSON II Deputy Clek 7

 

ICPS Bench Warrantdoce | Page I of 2
ia

Case 5:21-cv-00460-PGB-PRL Document 1 Filed 09/1'0/21 Page 16 of 28 PagelD 16

\

 

CLERK OF COURT AND COMPTROLLER
Gregory C. Harreil

SS

GERALD E SLASEMAN yy;
5512 FERDINAND DR /

ORLANDO FL 32808

Re: Case Number: 20CT003705AX
Citation Number: A247XEP

NOTICE TO COMPLY — CRIMINAL TRAFFIC VIOLATION

Our records reflect that as ¢f 04/16/21 you have failed-to comply with the Court’s

 

requirements for the above-referencé

avoid suspension of your driver’s license, you
must comply with the court requirements listed below within-thirty (30) calendar days of this

notice.
COURT REQUIREMENTS

xX __ Report immediately to the Marion County SHteriff s Office, 700 NW 30" Avenue,
Ocala, Florida. ae
Pay the outstanding fines, court costs and Tees totaling $. A copy of this notice should be
enclosed with your remittance in the form of a cashier’s check or money order, made
payable to GREGORY C. HARRELL, CLERK. Payment may also be made by credit

odrleuxy.pfr | 20CTO03705AX | Page 1 of 2
:” Case 5:21-cv-00460-PGB-PRL Document1 Filed 09/10/21 Page 17 of 28 PagelD 17

Gregory C. Harrell
Clerk of the Circuit and County Courts
MARION County Florida

 

Case #: 20CT003705AX Citation #:

   

 

osting Date: Citation #: Balance: $ 64.00
Validn Date: 2110:51 AM ) Workstation: 50160 Clerk: johnme
‘atid Time: :
Paid By: DEFT
Account Group: COPY FEE CT
Comments: COPY OF CITATION
Account Description Detail Amount
CTSRV SERVICE FEES-CRIMINAL TRAFFIC $1.00
CASH: $ 1.00 Ref#t:
TOTAL TENDERED: 3 1.00
CASH REFUND: $ 0.00
TOTALPAID: $ 1.00
SERVICE FEE: $ 6.00
CASE ASSESSMENT TOTAL: § 65.00
‘ TOTALDUE: $ 65.00
CURRENT CASE BALANCE: $ 64.00

20CT003705AX GERALD E SLASEMAN
 

|
Case 5:21-cv-00460-PGB-PRL Document1 Filed 09/10/21 Page 18 of 28 PagelD 18 *,
7

Case 5:21-¢v-00460-PGR-PRL ,Document1 Filed 09/10/21 Page 19 of 28 PagelD 19

7 WIEN oe

on
FLORIDA UNIFORM. TRAFFIC errATION A24ZXEP |

 

 

 

 

 

 

 

 

 

 

 

 

 

lk on) ms a Ojenr- Dero, oso ae
CITY (FL APPLICABLE) AGENCY Cs 4

AGENCY # — - ——|
By Ril COLAT CENGWTED SELOW THE VICEAOGAED COUPES PUT HOUR i COMPLAINT _
HAS JUST AND BEASORUBLE GROUNDS TO BELIEVE AND DOES GELEVE THAT ON {RETAINED BY COURT)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

DIST# 7 YWwHEGLEe -

 

 

 

 

 

 

 

 

VEHICLE UCENSE HO. = Al xe panes [ee
> a se re RO tn as.
1%) = _ dyes. Na
S FT. ALES - a a o Cl OF NODE

 

 

 

 

 

KN GD UNLAWFULLY COMMIT THE FOLLOWING OFFENSE, CHECK ONLY ONE OFFENSE EACH CITATION,
Vv, Clonwawru srcep_ PH SPEED APPLICA

 

S i(Chiwreasvate Ci'scuoon zone C1] construction WORKERS PRESENT)

2 SPEED MEASUREMENT. DEVICE:

&% CIcaReussonVNG DO CHL Festaanr . (FO BRED DRNEA LICENSE
(J VIOLATION OF TRAFFIC CONTROL Device [[] SAFETY BELT WOLATION _ SIX (6) MONTHS OF LESS

(FAILURE TO STOP ATA TRAFAIC SIGNAL [J] IMPROPER O8 UNSAFE EQUIPMENT (DO ExPiRED DRIVER LICENSE
[IU PROPER LANE CHANGE GA COURSE © _[[] EXPIRED TAG SIX (S}MONTHSORLESS | SORE THAMSIX (5) MONTHS
[DNO PROOF OF INSURANCE (CF) BXAREE: TAG MORE THAN Sox (fj MONTHS DRIVER LICENSE

 

 

 

DO VWOLATION GF RIGHT-OF-WAY Sonne we ues * ORIVING UNDER THE INFLUENCE
(CO IMPROPER PASSING SUSPENDED OF REVOKED . C1 Passer ‘Undar 13 Yr.
OTHER VIQLATIONS OF COMMENTS ARE TO os -- - Re = EXAM
Bla __ [Ete De
= = . DLSerED
Eves Cho
IN,

  
 

 

 

——— SECTION gu
Dacsressne CAVING | rmouancwrererayeacarure | ! " 7 4
uc PROPERTY DAMAGE : @UUAY TO.ANOTHER | SEMOUS BOOLY DAY TO ASOTHES *| FATAL
Pes ho |EI hol Ties | (hes Po

CFOUINAL VIOLATION. COURT APPEARANCE AIEOUED. AS INDISATED BELOW,

Beiaremnmor HOGG CASE INTAKE:
coninanune Lal IT BIg, = vere AOA IKE

count INPDAMATION |

ae Maida (omty cover
Ho Ma t7? AVE

Wompsgy  *™
meieaieie. KO” _ S/2ef 202

| AGRER AYO PRONE TO COUPLY AND Tesi Te Ge Rigen Wd NOTCHES ete THU SEER ee TI ano Sau
TAR CETATCHI WAY RESULTIN ARREST. |CKOERSTARD HY SGMATURE IS NOT AN ADICSSIOW OF GUS.T CR WAIVER OF RXGHTS. * YOU NEED REASOMABLE FACILITY
ACCOMODATIONS TO COMPLY WITH THES GiEATICH, THE CLERK OF Thi COURT.

ee 8 Z SLO

 

 

Bl CERTIFY AWS CITATION WAS EELIVERED TO THE PERSON CITED ABOVE ANO CERTIFY THE CHARGE ABOVE
HSMY 78901 (Rev. 7/12)
Case fF Risgy-0OQ460-PGB-PRL Document1 Filed 09/10/21 Page 20,01 28 HagelD 20

APPidavit of fact! Thoth

   

Fecal £ St able Re
scald © SYA atts Seen
Orlando Ploerda’
Linder § and Penalties of Pecjor,
T fereby de the toblus'ng Sakment to” be the

 

trsth, the. tohele froth arel Ang but the tristh.

Tin _feguacds 4é Case number: 2047003'705AK
IWiNg While Leense Saspendeal.

I) Ths all began as i was L:tting on mr ATV,
Checking Flaids as _the Machine uns irobcating
That if CaaS averheating The Sathin€ tos lof fomning,

Nor uve +h kere in &. DL /rffecail? hod ve or/
NPStick in one hand ard a thfer towel 1) my offer’
hand os T heal 0 Vaice. behind 70 Sab,” Gerd!
eyening is Kiran at tle Ho CNOTE fous Im Wel off
aa Shhablt a an frivate frofect fi
Loonty Sher: {Le Aefhartven t. He. MouegedsS Ts Oa Ose KR
a Aries bicense. Z snacycxHed witha PAN Ling , -ivers hicen SQ!
ine 4 arwving. So back and forth wt 90,2 Saiz) or
Ph 4} VS GFY Li a, " oF °
Loids on 7 A; verte PeoPect! ‘ a IS te Checking he
2) So ¢ Qe Avs ofGtee wm saPbrmetinn 03 be was
getting Fritty aggressive. Ss he Sars Scd tight Be o tse
as fF in gorn at Start this machine and srike off) Sa ,Z _
ge Qbovi's Lhecking al +he other Maids tina a #iqure ect tushy
an il ge th
"7 r Ortéer fe4¢orns ;
Mtr, Slama, I Ste. Yoo dort fae @ Valo! Anas Cg
Gnd Your Seating OQ Veh.Gle ort bere. 7 farhed, Ao 5s,'r-

‘1, 164 APPerots Véliz#2 oot Nar, + am Stttog on nF
Y for wheeler’ Tackng the Phisdls. 3

He. Sars, Zm So? Sure 7 Argue with Yu, sos! reed
You to Sgn 445 Ertations

3), awmediat/y + objeated Sarng we sx

_foor fUASAretso7 and + ade ot a2créerr o Zan trp: Caseat
_ ant NOt S1qni2g aavthing. The otbieer Sa¥s af Phat Line,

1M gest As fefssal. Ss fe botts the Crtatian #2
rest of +e bsaklat ahd tries ty hand s¥ to pe. °F ay
looked af Ain OS SP fe tues (OHS that StxPid or Mar be.

he +houghtr i was. Sa he Placod % Soni ,
Machines bdtinar, The. har bars Aut ge en “ee
Case 5:21-cv-00460-PGB-PRL Document1 Filed 09/10/21 Page 21 Ob 28,PagelD 21

APEdavit af fact Continved

Crore) I hac been Sitting On Atty ATV br Qt least
2.-3 two. thee mathe Poor minutes, with the ine off
Ond atleast 26 to 30 wont? to AhirtP feet Frods Lbsesb
(aad! et ngsPhaalt kefsre. this Marion Lavont¥ officer Palfs vP

4) There iS fo Possrble way that t's officer Lon rake Q
Valid Claim te MA oPPecating Thés Machine mareléss The
ASfumPtion of “daving@ it.

S) 2+ ¢s ItHecal and Phrsicall? tot loxssbbe. tarloo Validate
Ass alligationS,.....

&) Ss. a Bun days later Z 7oke the CitatroN Ond write

Vaid accross the ftent of “+ and lun He Svde Z wrote

I dorat Consent nor agree to +.s Contract. Ord masted
H te the Llherk af Court:

LJ//,... a feos weeks fater DT fecieve o Aoryee trom
Niacin LomtyY, Ndilatindg that | On to QPPtat at tre Lovfthovse.
in feguards to this affer.

9) DL ~Scheedvie me ao tide Pont Orlande te OCbla Via @ frend
an Saad j pate , anc oS ¢ Q6 to pttend Shes 7224 //79 ,
LJjhat tA know. The FPobhe Courthovse s3 vita
facial Covering lasts Ave to 74,5 false Lawd-1? Aonvsense-

8) Yous Z have. a Mtdital exemPhon Od a Sianed tam
flan WY Lfe long fami? LhysGall, but avd rot have He
Physical Rafer farm on we.Z ad have a Emel! of 4 in rir
Phone. AntwalsS... Sa Stand? ovtside of the Laurthav®
having jwost Come fam orlando 2 Garrtact the Clark of
CoorF and €XPla‘a 46 Am the Crtvatey?.

9) NS the Llerk tells me Of Brst She Aont know what +o
tel] me hot Pf talkin g acd PXtlaining my Setoatvor7
SheHle Clerk adw3es me 7o Send an Erie] of @ CoP?
of py exemliien farm te» a jodge Cir techof’

10), Wo s Gsmbletly ths strated ard ~Ovite astrrg wed, DT hae
Fqurea aut had to Send the L646 95 ts. Bfterhoatl.
n)

Sot aotside Br aver an hour and o half unth
Multi Ple Calls te the Clerk of CaurtS. and fa Ata Odmlfhanie
OMenwed to attend his Seeting:
Cisste Z am ver? bullheaded ane (fuse to ‘Va in when} Bros i an
Not ta the asrong. Z was falstad fo Stan ifn0 = Ostal rong
te Something ZF 'helreve #rut and fightows.

12) Ss, Lon Pasodd , frustrated, ONG? hot 2 Jf Seed .
tre deeiSien 7a seave back f Orland. - tat Y, 4 Mako.

Fem Cnvecsetiorts Poanlurth He Llerk, She advised re
just ts woatt far 'ASHaetons in ¢AE nar 7.
Case 5:21-cv-00460-PGB-PRL- Document 1 Filed 09/10/21 Page 22 of 28 Pagplly 22

AFE davi t ak a ontinstd

3) & a feo Dow ao by and / reve a better fom
Marian Lountt inchtating ONothtr Date Sot for aA: nirent.
Thinking that fhée Shovlel be no issues His time in
(egnads Yo th sust Covering andl all we wet through

at the PreviovS attemPt, I arrain HansPartatian +6am
Aflands +a. CAtala +n atterc! my arfainnment, This #ime
i even haclh MY Phesseal Aacomtnt of mPHon fron SNS

i+) lots and helald : / there and @XxPlawn INF SI fvatayn
te Seeorihy af Phe Lavrtt st, Show +hem my exemPton form
and £04 again +hbt olen

Y ME O05 +a Proceed. So, a wside
the Loorthadsse 7

. Loall 7he Lerk of Cosh To Fel) #hem topars

Going 20 ancl  anee again thot ask ma 44 email Jha forrr

& The judge dy rectly, S ¢A Strutted ta cdo 1 thd GA

feeteved” a ~ fesfonce. Wchtating that the Photo L433 blot

ard avé-cult to (ead.

15) =x had the better ian my hard. a.
the Secourt ty Guards anes Yort I thet -
then / 1 here,

[b> Au thyrs is Getting talyeul 5 So Say the /eash
Luith no named

ware resPinse, after aba an Ansr,
be Start back to Ortando

AHerns me to LF Hyansgh
Lett har Seen ibe cite

» Onel how, 6 S29h a
Leth Fatate Je cn terms gQ MY Krush Gf 4a th Fiaht A
travel,

Mm) Bat ontea a ain, “a few BIars later. ¢ recseved another
fiotize to afrtar. So Onl2 Aga'n, / gat a cde an
Sad date te ao to Lovtt. 1a brth Ade The CorxtS frat

transtentd my Lose From SWs Kitter-hotff/ a Fath. 6 M729/ Mrare,
te Nb 177. Thomas. uthith is feeogonized a3 % /tlert0/ boolth
Pra gistrare.

18) nel as the tuso Prior wintes. go from Orlards ro Ocala
j@nly to be denred Yet APGain, aw bei Se Peactrated
he #He flack of ACBL AS/h49 Ay a Buble atiltll,ushrceh 1S
Aesercmination and a Wélation of Lhi/ rigkt& Z Deal
Not Gall +a Cleck but (stead went hare Gre! Ft Tagether”
G deceleration of non-Consent, and Oo Auton % Mss dye

te lock of Taorrselietoion, Jace’ of ae. froces$S ane! an iavaleil
fontract. Utoh ¢ Bd meieve a sefte ‘Aborrning Me te
Contact tha Marion Loonte Sterrifés depoctment.

19) Alt that Point +i Caled tha Lherk of Lovft For the Stadvs

of my Ch apd of they Loold HY/ me was fo Covtact
the Shells ce Pactmen.,
of ¥
Case 5:21-cv-00460-PGB-PRL Document1 Fjled 09/10/21 Page 23 of ot HagélD 23

Afhdawt ef foth/fack Lenbinuedl

20) a troth i fe lected ts Contact the ShervPfs alePartmen}
bot not lone affer Z was detashtd during a traffic. StoP
in Semenale” Louont¥.

zi> Where. doe t having @ aut of Lovonty tuarrent for

this bhogos fa;lure to altar. “Cr ard not far fo aPrear

te any Court date or hearing. M¥ Standing rs firm and re,
in my wsbale life fot ante have i Farle fo aPrear.X bot ave
+ this Plandemic Fravd.1: was denied attendance. Nodt once.

bot (3) tree mes. Lohieh alone Gest me t50.00 gast sn
travel LXPENBE. »

22) = imabke xo just Put OP 10% of He #2000 bonel
ane bein required ts Pot vo? the ashole ammount Pls an extra
£256.00" fer ‘berng tut of Lost ?: IT was farted + ke
AePriveh of ms Freedom ancl rights. far CD) Seven das.

23) Al due to +e false OlbqationS and Void Contract
Via O fradulant ortetiodt

24) At hs time i usll ask He State attousne¥ far feimbortment
far sut af Pocker exfense§ ane/ expenses ; have inturdd
OS a feSulk of #hrs s55v0e,

252 Artacheel tehuith Hs alCidulit esl! be an exbentot

intorred Ghart as usell aS a Motion fo aAytnwsS Fhes
Lease tiith ht joclice.

News this 9% apth dor of Aen! 2021

7 Leraled £ Shsermart ae Confitn? thot thi'$ #'S
a true and Corecr Statement ¥o the Sr of obsth'fAL

A L 4h MIN

4-9-2021 Lerald per
uce | 20% All rights Passel

Se

4

   

      
  
Case 5:21-cv-00460-PGB-PRL Document1 Filed 09/10/21 Page 24 of 28 PagelD 24

"URGENT raATe ar Floerda Laws -
- *y’.

Creralel 6 Shseran

26CT ADI 7EAAK

Mr.Thompson,

In regards to case number. 20ct003705ax, a failure-to-appear was issued by Mr. Thompson on
April 16, 2021. Defendant had a scheduled appearance dated Thursday, April 15, 2024. On
Thursday, April 15, 2021, Defendant appeared at the Marion County Courthouse and was
denied access due to having the flu. The security woman at the entrance took the Defendant's
information and logged it into the record. Immediately thereafter, Defendant called the Clerk’s
Office at 8:23 a.m. to confirm that the Defendant appeared and was denied access to the
courthouse. Defendant then sent a Motion to Dismiss and an affidavit of truth on (Thursday)
April 15, 2021 at 8:53 a.m. On April 15, 2021 at 11:51 a.m. Defendant received an email from
Criminal@marioncountyclerk.org Stating "we are in receipt of your request and will process in
the order in which it was received," (confirming the emails. were received).

Mr. Thompson, it appears that there is a lack of communication within your organization.
Defendant then received a notice in the mail, ordering by way of threat, a zoom appearance
scheduled for Tuesday May 11,2021 at 1:30 p.m. On (Tuesday) May 11, 2021, 1:24p.m,
Defendant made a special appearance via zoom as required. During this phone appearance
the Defendant was informed of THE STATE’s (plaintiff) "Motion to Strike" Defendant's "Motion to
Dismiss" due to (1) neither Motion contained an affirmation that the facts are true and correct
(2) Motions were not sworn to therefore facially insufficient. (1)(a) Defendant's affidavit of truth.
Under heading states the following: | declare the following statement to be the Truth, The whole
Truth and Nothing but Truth. (2)(a) Defendant confirms the affidavit to be a True and Correct
statement, but adds "to the Best Of His Ability" and seals it with his autograph and thumbprint.
Fla. R. Crim. P. 3.190(c)(4) affirm that the motion is true and correct. See e.g. State v.
Rodriguez. (Defendant not aware of the plaintiff's motion to strike had no time to prepare any
defense)

During the zoom appearance, Defendant was given a chance to question the officer that issued
the charging citation (Officer Edward of MCSO badge 5917). When Mr. Edwards was asked to
explain the encounter with the Defendant, Mr. Edwards, said when he first encountered the
Defendant, the Defendant was sitting on an ATV on the side of the road. He approached the
Defendant and requested to see a Driver's License, at which time the Defendant said that he
“did not wish to contract" with the officer. Mr. Edwards then asked the Defendant again if he had
Driver's License, the Defendant replied that he "Did Not Consent" to contract with me (Officer
Edwards). Then, when asked if at any point did Mr. Edwards witness the Defendant "Driving" or
"Operating" the ATV he replied, No! "No, He Did Not". (So Defendant did not consent to any
contract, and officer Edwards did not witness the Defendant “Driving") Officer Edward indicated
that he was relying on hearsay from another fellow officer (See State v. Fordham, 465 So. 2d
580 (Fla. 5th DCA 1985) (oath of accused must be based upon his own knowledge of the facts
and not “upon information and belief.") Question: What was this informant “other officer" doing
at the time that he claims to have seen the Defendant violating a statute, that he, being a first-
hand witness, did not detain the Defendant for questioning?) Because, at no time did he see,
Case 5:21-cv-00460-PGB-PRL Document1 Filed 09/10/21 Page 25 of 28 PagelD 25

nor can anyone claim that the Defendant was Driving on any public road —period. Defendant

rested his case. (After hearing that there are no material disputed facts and the undisputed
facts do not establish a prima facie case of guilt)

Mr. Thompson, still granted the plaintiff's Motion to Strike. The Defendant was given a next
court appearance date of May 27, 2021 at the Marion County Courthouse. May 12, 2021
Defendant receives THE STATES "plaintiffs" {motion to strike) in the mail. May 27, 2024
Defendant appears at the Courthouse as required, by force, and proceeds to the Clerk’s Office
to get a clear copy of the Citation. While speaking with the Clerk , they advised the Defendant
that the "Defendant did not have a hearing on May 27, 2021." The Clerk said they were not
showing the Defendant on the Docket for said date and was not showing any next appearance
date, Mr. Thompson it appears “again” that there is a lack of communication within your
organization. Now, being confused, frustrated and not really sure as what to do, the Defendant,

against his better judgement, goes to the public pretender's office and applies for legal
assistance.

(Dated May 27, 2021) Defendant, reserves all his rights on application and NOT granting the
court's jurisdiction. On June 3, 2021 Defendant receives mail indicating to report immediately to
the Marion County Sheriffs Office for a failure-to-appear dated June 1, 2021 from a failure to
comply as of April 16,2021. Defendant immediately calls the Clerk of Marion County to see what
was going on. The Clerk does not provide any information other than to contact the attorney
office for assistance. So the Defendant calls the Public pretender’s office and was appointed
Jorge....... was forwarded to his secretary and described briefly the situation and urgency of this
matter. The Defendant got no reply, so calls back two days later and spoke with Jorge’s
assistant again. Jorge returned the Defendant's call that evening to get a description of the
case. Defendant has, as of June 18, 2021, been in contact with defense counsej. Although
defense council is appointed in this matter, "Defendant Reserves All Rights To Common Law"
and does not grant nor consent to the Foreign Corporation of THE STATE, THE STATE OF
FLORIDA or any Maritime Admiralty Jurisdiction. "Defendant Denies Consent"

Mr. Thompson, it is very clear that there is a lack of communication within your organization. Mr.
Thompson, Gerald Edwin here the living breathing flesh and blood. | did not consent to Mr.
Edward's unlawful contract, | did not consent to your courtroom appearances and | do not
consent to being Bullied or Terrorized by you, nor your organization. Mr. Thompson, in the 43
years on this planet and still to this day, | have NEVER failed to appear for any appearance.
Check the records, the Facts are the Facts! Only from the apparent lack of communication from
within your office, my only two failures-to-appear are from Mr. Thompson | am no criminal or
bad guy. If | have done some wrong to someone or if | have committed any wrong doings, |
have no problem taking full responsibility for my actions. { always have and always will. Only
cowards run from a fight and deny their actions and | am far from any cow-herd. Mr. Thompson,
| asked you in the very beginning as to what styles manual was being used to bring forth these
fraudulent claims? Section 9 says that “English” is the official language of "Florida." Florida
legal styles manual does not show THIS AS A LEGAL OR LAWFUL WAY OF STYLING and is
NOT English. Even examples from the (plaintiff's) motion to strike, ex: "S"ee e.g., "S"tate v.
Case 5:21-cv-00460-PGB-PRL Document1 Filed 09/10/21 Page 26 of 28 PagelD 26

Rodriguez, "S"tate v. "U"pron, "S"'tate v. "Fordham. So IF THIS DEBASED LATIN IS NOT
ENGLISH, IT IS NOT CORRECT AND THERFORE IS FRAUD AND INVALID.

MR THOMPSON, | am far from illiterate as worded in Black’s Law Dictionary 4th edition, and
even farther from being a surety for a foreign corporation. For the Record, | am the Director, The
Beneficiary and Soul Share Holder of the vessel known as GERALD SLASEMAN. Gerald
Slaseman does not grant you any authority whatsoever. Mr. Thompson, | command you as
trustee to recuse yourself from this case in which you have shown to be unfair and have been
biased in regards to this issue. | also demand that you withdraw the capias on the Defendant.
The Defendant will be putting in a removal from this court in which [ have a right to under Title
28 U.S.C 1333. | have incurred a significant cost due to the neglect and abuse directly from (Mr.
Thompson and THE STATE) and will demand monetary payment for the attached cost. | do not
wish badly on anyone, but | feel Mr. Thompson and all parties involved with this case should be
held accountable for their behavior.

On Dené 29,2021 Dana a Zaam_ ANfPearance,
Se. ThomP San snditatecl Ww LaPiss Ler FTA ut
aleve QSa fest af xh DoRenclank Shaved wsP
bot then ki. ta ThamPsa/ rs rePrancine
a faslore tsa Aar Be Pe-:/ Ma, 2782/ sun e.

Dearoadants Sthedoled Court Date oat Y-/S-Zaz/

This twaild be the Lresehess/1) verted ia

Delenclart Aepoaced LAY: 27 22 Os reevired/schodeshoal
low Was not onthe DasLol. Ss Behendert Suhmted
OPP hbol yn Re feaal Astistancea. Gnd selk Ar 4/6 20 2/
Thre coonuld Ae. lie Mamba fila 2.

T Leerald Slosemnan herebr Lantem

that 4453 Decsmant tS Has On facts af

La Sp ZOLTRAOBVASAX GN Chore. tacks Showy
Git be 6 earal af Fhe Marion Coantp Cosrthasce
al WHO Nis. IS Mende. Aaoala, Florida,

Sas att is. ,
Eves oa _) tier Ret
ier

dune 4 2072!
Ys FS Z feredlin ANSEL Tt
Or lancdes Plaricla “he ies eh

T3 MaSernant? AQLaMNa tl PA
(1) 868~-Z303

    
  
 
 

@5:21-cv-00460-PGB-PRL Document 1 Filed 09/10/21 Page 27 of 28 Pagel iia ee

 

Acknowledgment by Individual

State of Florida

County of Doarge

 

 

The foregoing instrument was acknowledged before me this 3° day
of August , 202e/_, by means of f--pfiysical presence or (] online notarization
GERALD SLAS ema (name of person acknowledging).

 

O Personally known to me
ct Produced Identification _
Type of Identification Produced___- Fv. YC

Notary signature GtGe Che C
Notary name (typed or printed) _ Grate = Se FH
Title (e.g., Notary Public) MoT RY (CUBIC

Place Seal Here

 

Grace Singh

Notary Pubiie
rr State of Florida
q My Commission Expires 09/28/2029

Commission No. GG 382184

 

 

 

For Bank Purposes Only Description
of Attached Document
Type or Title of Document

CASE Aumece  ZOCT 903708 4X
Document Date Number of Pages
oblnr Looe

Signer(s) Other Than Named Above

 

Account Number (if applicable}

 

© 2020 Wells Fargo Bank, N.A. All rights reserved.
DSG5350FL/595501 (Rev 05- 05/21)
 

 

    

= Case S:2tcv-00460-PGB-PRE = Doc ment Filed 09/10/21 Page 28 of 28-PagelD:28- ra

 

FOR DOMESTIC AND INTERNATIONAL USE

_ PRIORITY
——==9 UNITED STATES | MATL

[Z2q POSTAL SERVICEs | eypRESS®

iCUSTOMERTUSEIONL

   

 

  

 

920.99
Az30d¥122027-07

a

 

 

4

ane

Ed 856 ebe $79 US

 

 

 

 

 

 

mn

 

 

 

 

 

 

 

 

 

 

 

LISIGNATURE REQUIRED Note: Tho meer must chack the “Signature Required tex f the mater: 1,
cop OA4]
Se Se velcean tehclereetaien seiner?
. eahor soctre b ah ths to abtetn the raeky cece,
\Gelivery Options
(1 No Satutay Detivory (dallvered next business dzy)

 

 

 

(Gi Sunday Holiday Delivery Fiaquired (additional tee, where avelable’}
Ts, *Fiafer to USPS.com? or local Post Office” for rvaltabiy,

 

 

 

Clee o® cot

 

207 iNerthrest Seem d
ocala Glostda

ZP 44° (US, ADRESSES ONY) |

NL DD OI

 

 

 

 

 

 

 

——

is the of the U.S. Postal Service® and Is provided solely for use tn sending Priority Mail Expross™ shipments. Misuse may
a rolation of federal tave This packaging Is not for resale. EPISC © U.S. Postal Service; July 2013; All rights reserved.
